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                           A
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                      COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                             DOCKET
                                                                                                          Docket Number: CP-51-CR-0400362-1997
                                                                                                                                CRIMINAL DOCKET
                                                                                                                                                           Court Case


                                                                Commonwealth of Pennsylvania
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                                                                            v.
                                                                      Montrell Oliver
                                                                   CASE INFORMATION
Cross Court Docket Nos: 2732 EDA 2003, 3202 EDA 2006
Judge Assigned: McDermott, Barbara A.                                             Date Filed: 04/10/1997                  Initiation Date: 04/10/1997
OTN: M 737119-5                       LOTN:                                       Originating Docket No: MC-51-CR-0220171-1997
Initial Issuing Authority:                                                        Final Issuing Authority:
Arresting Agency: Philadelphia Pd                                                 Arresting Officer: Affiant
Complaint/Incident #:
Case Local Number Type(s)                                                         Case Local Number(s)
       PSI Microfilm Number                                                            981164
       Legacy Microfilm Number                                                         00007162
       Police Incident Number                                                          9716006168
       District Control Number                                                         9716006168
       Legacy Docket Number                                                            C9704003622

                                                                        RELATED CASES

Related Docket No                  Related Case Caption                                     Related Court                    Association Reason
Joined Codefendant Cases
CP-51-CR-0400361-1997              Comm. v. Goldwire, Omar                                  CP-01-51-Crim                    Joined Codefendant Cases

                                                                     STATUS INFORMATION
Case Status:      Closed                       Status Date              Processing Status                                                Arrest Date:       02/19/1997
                                               01/18/2019               Sentenced/Penalty Imposed
                                               01/18/2019               Awaiting Sentencing
                                               01/18/2019               Completed
                                               02/02/2018               Awaiting PCRA Decision
                                               07/15/2008               Completed
                                               11/15/2006               Awaiting Appellate Court Decision
                                               09/17/2006               Completed
                                               03/14/2006               Awaiting PCRA Decision
                                               04/17/1998               Migrated Final Disposition
                                               04/10/1997               Migrated Case (Active)

                                                                                                                                    Complaint Date:         04/10/1997




CPCMS 9082                                                                                                                                               Printed: 03/04/2019

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                    Case 2:16-cv-05537-MSG Document 45-1 Filed 03/18/19 Page 3 of 43

                    COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
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                                                                                                                                                          Court Case


                                                               Commonwealth of Pennsylvania
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                                                                       CALENDAR EVENTS
 Case Calendar                 Schedule          Start             Room                           Judge Name                                    Schedule
 Event Type                    Start Date        Time                                                                                           Status
 Post Conviction               06/08/2006         8:30 am          1002                                                                         Scheduled
 Relief Act
 Post Conviction               06/09/2006         8:30 am          1002                           Senior Judge John J.                          Scheduled
 Relief Act                                                                                       Poserina Jr.
 Post Conviction               06/13/2006         8:30 am          1002                           Senior Judge John J.                          Scheduled
 Relief Act                                                                                       Poserina Jr.
 Post Conviction               06/21/2006         8:30 am          206                                                                          Scheduled
 Relief Act
 Post Conviction               07/26/2006         8:30 am          1002                           Senior Judge John J.                          Scheduled
 Relief Act                                                                                       Poserina Jr.
 Post Conviction               07/28/2006         8:30 am          1002                           Senior Judge John J.                          Scheduled
 Relief Act                                                                                       Poserina Jr.
 Post Conviction               10/24/2006         8:30 am          1002                           Senior Judge John J.                          Scheduled
 Relief Act                                                                                       Poserina Jr.
 PCRA                          04/30/2018         9:00 am          908                            Judge Genece E. Brinkley                      Moved
 PCRA                          05/31/2018         9:00 am          1105                           Senior Judge Kathryn Streeter                 Scheduled
                                                                                                  Lewis
 JLSWOP Status                 06/01/2018         9:00 am          1105                           Senior Judge Kathryn Streeter                 Continued
                                                                                                  Lewis
 JLSWOP Status                 06/08/2018         9:00 am          1105                           Senior Judge Kathryn Streeter                 Continued
                                                                                                  Lewis
 JLSWOP Status                 07/16/2018         9:00 am          1105                           Senior Judge Kathryn Streeter                 Continued
                                                                                                  Lewis
 JLSWOP Status                 09/07/2018         9:00 am          1105                           Senior Judge Kathryn Streeter                 Continued
                                                                                                  Lewis
 JLSWOP Status                 09/21/2018         9:00 am          1105                           Senior Judge Kathryn Streeter                 Continued
                                                                                                  Lewis
 JLSWOP Status                 10/22/2018         9:00 am          1105                           Senior Judge Kathryn Streeter                 Scheduled
                                                                                                  Lewis
 JLSWOP Status                 11/29/2018         9:00 am          507                            Judge Barbara A. McDermott                    Scheduled
 JLSWOP                        12/21/2018         9:00 am          507                            Judge Barbara A. McDermott                    Continued
 Resentencing
 JLSWOP                        01/18/2019         9:00 am          507                            Judge Barbara A. McDermott                    Scheduled
 Resentencing
                                                              CONFINEMENT INFORMATION
  Confinement         Confinement                                   Destination                               Confinement                               Still in
  Known As Of         Type                                          Location                                  Reason                                    Custody
  09/25/2018          DOC Confined                                  SCI Phoenix                                                                         Yes


CPCMS 9082                                                                                                                                              Printed: 03/04/2019

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                       COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
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                                                                                                                                                           Court Case


                                                               Commonwealth of Pennsylvania
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                                                                           v.
                                                                     Montrell Oliver
                                                               DEFENDANT INFORMATION
Date Of Birth:                     05/16/1979                City/State/Zip: PHILA., PA 19126

Alias Name
Harris, Montrell

                                                                     CASE PARTICIPANTS
Participant Type                                       Name
Defendant                                              Oliver, Montrell (Pro Se)

                                                                            CHARGES
Seq.         Orig Seq.     Grade      Statute                         Statute Description                                        Offense Dt.        OTN
1            1                          18 § 2502                     MURDER-1ST DEGREE                                          02/17/1997         M 737119-5
2            2                          18 § 3701                     ROBBERY                                                    02/17/1997         M 737119-5
3            3                          18 § 6106                     CARRYING FIREARMS WITHOUT LICENSE                          02/17/1997         M 737119-5
4            4                          18 § 6108                     CARRYING FIRE ARMS/PUBLIC STREET                           02/17/1997         M 737119-5
                                                                      OR PLACE
5            5                          18 § 6109                     VUFA-LICENSES                                              02/17/1997         M 737119-5
6            6                          18 § 907                      POSSESSING INSTRUMENTS OF CRIME                            02/17/1997         M 737119-5
7            7                          18 § 903                      CRIMINAL CONSPIRACY                                        02/17/1997         M 737119-5
8            8                          18 § 3701                     ROBBERY                                                    02/17/1997         M 737119-5
9            9                          18 § 2702                     AGGRAVATED ASSAULT                                         02/17/1997         M 737119-5
10           10                         18 § 2701                     SIMPLE ASSAULT                                             02/17/1997         M 737119-5
11           11                         18 § 2705                     RECKLESSLY ENDANGERING ANOTHER                             02/17/1997         M 737119-5
                                                                      PERSON
12           12                         18 § 903                      CRIMINAL CONSPIRACY                                        02/17/1997         M 737119-5
                                                          DISPOSITION SENTENCING/PENALTIES
Disposition
  Case Event                                                               Disposition Date                               Final Disposition
    Sequence/Description                                                      Offense Disposition                             Grade       Section
       Sentencing Judge                                                         Sentence Date                                      Credit For Time Served
         Sentence/Diversion Program Type                                            Incarceration/Diversionary Period                 Start Date
                  Sentence Conditions

Migrated Disposition
  Migrated Dispositional Event                                             04/17/1998                                     Final Disposition
     1 / MURDER-1ST DEGREE                                                    Guilty                                                        18 § 2502
       Poserina, John J. Jr.                                                     04/17/1998
         Confinement                                                               LIFE
       McDermott, Barbara A.                                           01/18/2019
         Confinement                                                     24 Years to LIFE                                               01/18/2019
             "The Original Sentenced of April 17, 1998 date is vacated".


CPCMS 9082                                                                                                                                               Printed: 03/04/2019

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                     COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
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                                                          DISPOSITION SENTENCING/PENALTIES
Disposition
  Case Event                                                               Disposition Date                               Final Disposition
    Sequence/Description                                                     Offense Disposition                              Grade       Section
       Sentencing Judge                                                        Sentence Date                                       Credit For Time Served
         Sentence/Diversion Program Type                                            Incarceration/Diversionary Period                 Start Date
               Sentence Conditions
               "Credit for all original credit time awarded and all time previously served on this case".

    2 / ROBBERY                                                               Guilty                                                        18 § 3701
       Poserina, John J. Jr.                                                     04/17/1998
         Confinement                                                               Min of 5.00 Years
                                                                                   Max of 10.00 Years
       McDermott, Barbara A.                                                     01/18/2019
         No Further Penalty
    3 / CARRYING FIREARMS WITHOUT LICENSE                                     Nolle Prossed                                                 18 § 6106
       Poserina, John J. Jr.                                                     04/17/1998
       McDermott, Barbara A.                                                     01/18/2019
    4 / CARRYING FIRE ARMS/PUBLIC STREET OR                                   Nolle Prossed                                                 18 § 6108
    PLACE
       Poserina, John J. Jr.                                                     04/17/1998
       McDermott, Barbara A.                                                     01/18/2019
    5 / VUFA-LICENSES                                                         Nolle Prossed                                                 18 § 6109
       Poserina, John J. Jr.                                                     04/17/1998
       McDermott, Barbara A.                                                     01/18/2019
    6 / POSSESSING INSTRUMENTS OF CRIME                                       Guilty                                                        18 § 907
       Poserina, John J. Jr.                                                     04/17/1998
         Confinement                                                               Min of 1.00 Years
                                                                                   Max of 2.00 Years
       McDermott, Barbara A.                                                     01/18/2019
         No Further Penalty
    7 / CRIMINAL CONSPIRACY                                                   Guilty                                                        18 § 903
       Poserina, John J. Jr.                                                     04/17/1998
         No Further Penalty
       McDermott, Barbara A.                                                     01/18/2019
         No Further Penalty
    8 / ROBBERY                                                               Guilty                                                        18 § 3701
       Poserina, John J. Jr.                                                     04/17/1998
         Confinement                                                               Min of 5.00 Years
                                                                                   Max of 10.00 Years


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                       COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
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                                                            DISPOSITION SENTENCING/PENALTIES
Disposition
    Case Event                                                               Disposition Date                                Final Disposition
      Sequence/Description                                                     Offense Disposition                               Grade       Section
        Sentencing Judge                                                         Sentence Date                                       Credit For Time Served
            Sentence/Diversion Program Type                                           Incarceration/Diversionary Period                 Start Date
                 Sentence Conditions

        McDermott, Barbara A.                                                      01/18/2019
            No Further Penalty
      9 / AGGRAVATED ASSAULT                                                    Guilty                                                        18 § 2702
        Poserina, John J. Jr.                                                      04/17/1998
            Confinement                                                              Min of 1.00 Years
                                                                                     Max of 2.00 Years
        McDermott, Barbara A.                                                      01/18/2019
            No Further Penalty
      10 / SIMPLE ASSAULT                                                       Nolle Prossed                                                 18 § 2701
        Poserina, John J. Jr.                                                      04/17/1998
        McDermott, Barbara A.                                                      01/18/2019
      11 / RECKLESSLY ENDANGERING ANOTHER                                       Nolle Prossed                                                 18 § 2705
      PERSON
        Poserina, John J. Jr.                                                      04/17/1998
        McDermott, Barbara A.                                                      01/18/2019
      12 / CRIMINAL CONSPIRACY                                                  Nolle Prossed                                                 18 § 903
        Poserina, John J. Jr.                                                      04/17/1998
        McDermott, Barbara A.                                                      01/18/2019

    COMMONWEALTH INFORMATION                                                         ATTORNEY INFORMATION
    Name:             Philadelphia County District Attorney's                        Name:          Jessica Ann Priselac
                      Office                                                                        Private
                      Prosecutor                                                     Supreme Court No:      208524
    Supreme Court No:                                                                Rep. Status:                   Active
    Phone Number(s):                                                                 Phone Number(s):
        215-686-8000            (Phone)                                              Address:
    Address:
        3 South Penn Square
        Philadelphia, PA 19107
                                                                                ENTRIES
Sequence Number                   CP Filed Date                     Document Date                                  Filed By

1                                 04/10/1997                                                                       Unknown Filer
    Held for Court


CPCMS 9082                                                                                                                                                 Printed: 03/04/2019

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Sequence Number                  CP Filed Date                     Document Date                                  Filed By

1                                04/17/1998                                                                       Migrated, Filer
    Migrated Automatic Registry Entry (Disposition) Text


2                                04/17/1998                                                                       Migrated, Filer
    Disposition Filed


3                                04/17/1998                                                                       Migrated, Filer
    Migrated Sentence


1                                09/15/2003                                                                       Migrated, Filer
    APPEAL CASE FILED SUFFIX C
      NEW ENTRY: 09/15/03
      APPEAL JUDGE: JOHN POSERINA, JR.
      DATE APPEAL ORDERED: 07/11/03
      TYPE APPEAL:
      PCRA DISMISSED AS FRIVOLOUS
      APPEAL MOST SERIOUS CHARGE
      11000 MURDER-1ST DEGREE
      LEAD ATTORNEY: 16747 DEF/REP-SELF
      SOURCE: SELF REPRESENTED - PRO SE
      DATE FILED: 08/11/03
      APPEAL TO: SUPERIOR COURT
      DOCKET PAGE: 0994
      APPELLATE NUMBER: 2732EDA2003
      FILE STATUS: FILE LOCATED
      TYPE PAYMENT: IN FORMA PAUPERIS
      FILED BY: PRO SE




CPCMS 9082                                                                                                                                                Printed: 03/04/2019

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                     COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
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Sequence Number                 CP Filed Date                     Document Date                                  Filed By

1                               10/10/2003                                                                       Migrated, Filer
    APPL FILE MAINT SUFFIX C
     PROOF OF SERVICE FILED: 9-5-03, D-24A.
     DATE OF ORDER 1925B B CHANGED FROM 00/00/00
     TO 09/05/03
     STM OF MATT DATE CHANGED FROM 00/00/00
     TO 09/24/03
     FILE PREPARED DATE CHANGED FROM 00/00/00
     TO 10/10/03
     DATE RECORD SENT CHANGED FROM 00/00/00
     TO 10/10/03
     TOTAL VOLUMES OF TESTIMONY CHANGED FROM 000
     TO 012
     FILE STATUS CHANGED FROM
     FILE LOCATED
     TO
     FILE TRANSMITTED TO SUPERIOR APPELLATE
     FILE STATUS DATE CHANGED FROM 09/15/03
     TO 10/10/03

2                               10/10/2003                                                                       Migrated, Filer
    APPL NOTES OF TEST SUFFIX C
     APPEAL NOTE OF TESTIMONY ADDED
     TYPE: JURY
     HEARING DATE: 020498
     REQUEST DATE:
     RECEIPT-DATE: 101003

3                               10/10/2003                                                                       Migrated, Filer
    APPL NOTES OF TEST SUFFIX C
     APPEAL NOTE OF TESTIMONY ADDED
     TYPE: JURY
     HEARING DATE: 020298
     REQUEST DATE:
     RECEIPT-DATE: 101003




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                    COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
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4                              10/10/2003                                                                       Migrated, Filer
    APPL NOTES OF TEST SUFFIX C
     APPEAL NOTE OF TESTIMONY ADDED
     TYPE: JURY
     HEARING DATE: 020398
     REQUEST DATE:
     RECEIPT-DATE: 101003

5                              10/10/2003                                                                       Migrated, Filer
    APPL NOTES OF TEST SUFFIX C
     APPEAL NOTE OF TESTIMONY ADDED
     TYPE: JURY
     HEARING DATE: 020598
     REQUEST DATE:
     RECEIPT-DATE: 101003

6                              10/10/2003                                                                       Migrated, Filer
    APPL NOTES OF TEST SUFFIX C
     APPEAL NOTE OF TESTIMONY ADDED
     TYPE: JURY
     HEARING DATE: 020698
     REQUEST DATE:
     RECEIPT-DATE: 101003

7                              10/10/2003                                                                       Migrated, Filer
    APPL NOTES OF TEST SUFFIX C
     APPEAL NOTE OF TESTIMONY ADDED
     TYPE: JURY
     HEARING DATE: 020998
     REQUEST DATE:
     RECEIPT-DATE: 101003

8                              10/10/2003                                                                       Migrated, Filer
    APPL NOTES OF TEST SUFFIX C
     APPEAL NOTE OF TESTIMONY ADDED
     TYPE: JURY
     HEARING DATE: 021098
     REQUEST DATE:
     RECEIPT-DATE: 101003




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                    COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
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9                              10/10/2003                                                                       Migrated, Filer
    APPL NOTES OF TEST SUFFIX C
     APPEAL NOTE OF TESTIMONY ADDED
     TYPE: JURY
     HEARING DATE: 021198
     REQUEST DATE:
     RECEIPT-DATE: 101003

10                             10/10/2003                                                                       Migrated, Filer
    APPL NOTES OF TEST SUFFIX C
     APPEAL NOTE OF TESTIMONY ADDED
     TYPE: JURY
     HEARING DATE: 021698
     REQUEST DATE:
     RECEIPT-DATE: 101003

11                             10/10/2003                                                                       Migrated, Filer
    APPL NOTES OF TEST SUFFIX C
     APPEAL NOTE OF TESTIMONY ADDED
     TYPE: JURY
     HEARING DATE: 021298
     REQUEST DATE:
     RECEIPT-DATE: 101003

12                             10/10/2003                                                                       Migrated, Filer
    APPL NOTES OF TEST SUFFIX C
     APPEAL NOTE OF TESTIMONY ADDED
     TYPE: SENTENCING
     HEARING DATE: 041798
     REQUEST DATE:
     RECEIPT-DATE: 101003

13                             10/10/2003                                                                       Migrated, Filer
    APPL NOTES OF TEST SUFFIX C
     APPEAL NOTE OF TESTIMONY ADDED
     TYPE: JURY
     HEARING DATE: 021798
     REQUEST DATE:
     RECEIPT-DATE: 101003




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Sequence Number                  CP Filed Date                     Document Date                                  Filed By

14                               10/10/2003                                                                       Migrated, Filer
    APPL FILE MAINT SUFFIX C
      DATE OPINION FILED CHANGED FROM 00/00/00
      TO 10/09/03

1                                09/16/2004                                                                       Migrated, Filer
    APPL FILE MAINT SUFFIX C
      APPL FILE MAINT SUFFIX C
      APPELLATE RETURN DATE CHANGED FROM 00/00/00
      TO 09/15/04
      DISPOSITION DATE CHANGED FROM 00/00/00
      TO 03/25/04
      DISPOSITION CODE CHANGED FROM

2                                09/16/2004                                                                       Migrated, Filer
    APPL FILE MAINT SUFFIX C
      TO
      APPEAL DISMISSED FOR FAILURE TO FILE BRIEFS

3                                09/16/2004                                                                       Migrated, Filer
    APPL DISP POSTING SUFFIX C
      DISP LETR: NO APPELLATE DISPOSITION LETTER
      DISP DATE: 03/25/04
      DISP CODE:
      APPEAL DISMISSED FOR FAILURE TO FILE BRIEFS
      APPL RETURN DATE: 09/15/04 JURIS-RETAINED: N

D27/1                            03/14/2006                                                                       Oliver, Montrell
    Post-Conviction Collateral Relief Act Motion


1                                03/21/2006                                                                       Migrated, Filer
    PCRA CASE ENTRY SUFFIX C
      FIRST ACT DT 062106 RM 206 EVNT TYPE 100 EVNT DT 0321


D28/1                            04/25/2006                                                                       Oliver, Montrell
    Motion to Dismiss PCRA Without PRejudice




CPCMS 9082                                                                                                                                                Printed: 03/04/2019

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                      COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                              DOCKET
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1                                05/11/2006                                                                       Migrated, Filer
    PCRA NEXT ACT/DISP SUFFIX C
      OLD NXT ACT DT 062106 RM 206 EVNT TYP 100 EVNT DT 032106
      NEW NXT ACT DT 060806 RM 1002 EVNT TYP 070 EVNT DT 032106
      EVNT TYP CHG FROM 100-LISTED FOR STATUS
      TO 070-LISTED FOR STATUS

2                                06/08/2006                                                                       Migrated, Filer
    PCRA NEXT ACT/DISP SUFFIX C
      OLD NXT ACT DT 060806 RM 1002 EVNT TYP 070 EVNT DT 032106
      NEW NXT ACT DT 060906 RM 1002 EVNT TYP 070 EVNT DT 032106

2                                06/09/2006                                                                       Migrated, Filer
    PCRA NEXT ACT/DISP SUFFIX C
      OLD NXT ACT DT 060906 RM 1002 EVNT TYP 070 EVNT DT 032106
      NEW NXT ACT DT 061306 RM 1002 EVNT TYP 070 EVNT DT 032106

1                                06/14/2006                                                                       Migrated, Filer
    PCRA NEXT ACT/DISP SUFFIX C
      OLD NXT ACT DT 061306 RM 1002 EVNT TYP 070 EVNT DT 032106
      NEW NXT ACT DT 072606 RM 1002 EVNT TYP 070 EVNT DT 032106

1                                07/27/2006                                                                       Migrated, Filer
    PCRA NEXT ACT/DISP SUFFIX C
      OLD NXT ACT DT 072606 RM 1002 EVNT TYP 070 EVNT DT 032106
      NEW NXT ACT DT 072806 RM 1002 EVNT TYP 070 EVNT DT 032106

D29/1                            07/31/2006                                                                       Migrated, Filer
    PCRA NEXT ACT/DISP SUFFIX C
      OLD NXT ACT DT 072806 RM 1002 EVNT TYP 070 EVNT DT 032106
      NEW NXT ACT DT 102406 RM 1002 EVNT TYP 011 EVNT DT 032106
      EVNT TYP CHG FROM 070-PETITION TO BE DISMISSED - 1507 NOTICE
      TO 011-PETITION TO BE DISMISSED - 1507 NOTICE

D30/1                            08/01/2006                                                                       Commonwealth of Pennsylvania
    Commonwealth Motion to Dismiss


D31/1                            08/24/2006                                                                       Oliver, Montrell
    Motion for Extension of Time to Amend PCRA




CPCMS 9082                                                                                                                                                Printed: 03/04/2019

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1                                10/24/2006                                                                       Poserina, John J. Jr.
    Order Denying PCRA Petition as Untimely


D32/1                            11/15/2006                                                                       Oliver, Montrell
    Notice of Appeal to the Superior Court
     DISMISSAL OF PCRA
     DEFT.NOT ENTITLED TO CT. APPT'D COUNSEL
     DOCKET PAGE 1259
     File located CJC
Philadelphia County District Attorney's
Office
  11/08/2006
Poserina, John J. Jr.
    11/08/2006


1                                11/28/2006                                                                       Superior Court of Pennsylvania -
                                                                                                                  Eastern District
    Docket Number from Upper Court Received
      3202 EDA 2006


1                                01/24/2007                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
    Preliminary Docket Entries Prepared


D33/1                            04/10/2007                                                                       Poserina, John J. Jr.
    Opinion


1                                04/11/2007                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
    Appeal Docket Entries and Served


2                                04/11/2007                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
    Certificate and Transmittal of Record to Appellate Court


1                                07/14/2008                        05/22/2008                                     Superior Court of Pennsylvania -
                                                                                                                  Eastern District
    Appeal of Denial of PCRA Affirmed




CPCMS 9082                                                                                                                                                Printed: 03/04/2019

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1                                02/02/2018                                                                       Priselac, Jessica Ann
    Post-Conviction Relief Act Petition Filed
        Post-Conviction Relief Act Petition Filed on behalf of Oliver, Montrell.


2                                02/02/2018                                                                       Priselac, Jessica Ann
    Entry of Appearance
         Entry of Appearance filed on behalf of Oliver, Montrell.


1                                02/05/2018                                                                       Rudowitz, Andrew John
    Entry of Appearance
         Entry of Appearance filed on behalf of Oliver, Montrell.


3                                04/30/2018                                                                       Brinkley, Genece E.
    Case Listed in Error
      Case sent to Judge Streeter-Lewis. Timely filed Juvenile Lifer case.
      NCD: 5/31/18 R.1105
      ADA: Gannone DEF ATTY: J. Priselac
      STENO: J. Craighead COURT CLERK: J. Scott
      JUDGE: GENECE BRINKLEY

1                                05/30/2018                                                                       Priselac, Jessica Ann
    Motion for Appointment of Expert Witness
        Motion for Appointment of Expert Witness filed on behalf of Oliver, Montrell.


3                                05/31/2018                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
    Hearing Notice


4                                05/31/2018                                                                       Priselac, Jessica Ann
    Motion for Continuance Defense Request
      Judge: Hon. Kathryn S. Lewis             ADA: Kaitlyn Mays            Def. Atty: A. J. Rudowitz           Steno: Gianna Parisse             Court
      Clerk: Kathryn Morris

      PCRA continued for status of JLSWOP. First listing. Rolled until tomorrow. NCD: 6/1/2018 room 1105

4                                06/01/2018                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
    Hearing Notice




CPCMS 9082                                                                                                                                                Printed: 03/04/2019

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                      COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
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5                                06/01/2018                                                                       Lewis, Kathryn Streeter
    Defense Advance Request For Continuance
      Judge: Hon. Kathryn S. Lewis               ADA: Chesley Lightsey               Def. Atty: Jessica Priselac             Steno: Gianna Parisse
      Court Clerk: Kathryn Morris

      JLSWOP continued for status. Advance defense request. NCD: 6/8/2018 room 1105

4                                06/08/2018                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
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5                                06/08/2018                                                                       Priselac, Jessica Ann
    Motion for Continuance Defense Request
      Judge: Hon. Kathryn S. Lewis               ADA: Chesley Lightsey               Def. Atty: Jessica Priselac             Steno: Gianna Parisse
      Court Clerk: Kathryn Morris

      JLSWOP continued for status. The defendant is housed at SCI Houtzdale. He has been in custody approximately
      21 years. This case was remanded from Federal Court. Counsel has been in contact with with her client. The
      DOC records passed today. The homicide file will pass next week. Counsel is seeking a mitigation specialist
      and can submit a mitigation package within 60 days. NCD: 7/16/2018 room 1105

1                                07/12/2018                                                                       Priselac, Jessica Ann
    Motion for Appointment of Expert Witness
        Motion for Appointment of Expert Witness filed on behalf of Oliver, Montrell.


1                                07/16/2018                                                                       Priselac, Jessica Ann
    Motion for Continuance Defense Request
      Judge: Hon. Kathryn S. Lewis        ADA: Chesley Lightsey                     Def. Atty: Jessica Priselac/ A. J. Rudowitz                 Steno:
      Tiffany Monastra Court Clerk: Kathryn Morris

      JLSWOP continued for status. The defendant is housed at SCI Houtzdale. He has been in custody approximately
      20 years. This is a first degree murder case. The DOC records and homicide file have passed. Counsel is to
      submit a mitigation package to the Commonwealth on or before 8/20/2018. The new mitigation specialist can
      visit the defendant the first week in August, 2018. NCD: 9/7/2018 room 1105

5                                07/16/2018                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
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1                                07/18/2018                                                                       Philadelphia County Office of Judicial
                                                                                                                  Records
    Order Granting Motion for Counsel Fees

CPCMS 9082                                                                                                                                                Printed: 03/04/2019

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4                                 09/07/2018                                                                       Court of Common Pleas -
                                                                                                                   Philadelphia County
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5                                 09/07/2018                                                                       Lewis, Kathryn Streeter
    Order Granting Motion for Continuance
      Judge: Hon. Kathryn S. Lewis        ADA: D. Watson-Stokes                       Def. Atty: Jessica Priselac/ A. J. Rudowitz                Steno:
      Danielle Sanders Court Clerk: Kathryn Morris

      JLSWOP continued for status. The defendant is housed at SCI Houtzdale. He has been in custody approximately
      21 years. Counsel sent a mitigation package on 8/22/2018. The Commonwealth requests 2 weeks to convey an
      offer. NCD: 9/21/2018 room 1105

4                                 09/21/2018                                                                       Court of Common Pleas -
                                                                                                                   Philadelphia County
    Hearing Notice


5                                 09/21/2018                                                                       Lewis, Kathryn Streeter
    Order Granting Motion for Continuance
      Judge: Hon. Kathryn S. Lewis             ADA: D. Watson-Stokes              Def. Atty: A. J. Rudowitz          Steno: Megan Kelly            Court
      Clerk: Kathryn Morris

      JLSWOP continued for Status Hearing Date. The defendant is housed at SCI Houtzdale. He has been in custody
      approximately 21 years. This is a first degree murder case. The Commonwealth have not extended an offer. The
      Commonwealth will not be seeking life without parole. Both counsel are to submit their Concise Statements to
      the Court on or before 10/5/2018. NCD: 10/22/2018 room 1105

1                                 10/05/2018                                                                       Philadelphia County District Attorney's
                                                                                                                   Office
    Letter in Brief
         Letter in Brief filed on behalf of Commonwealth Of Pennsylvania.


2                                 10/05/2018                                                                       Rudowitz, Andrew John
    Letter in Brief
         Letter in Brief filed on behalf of Oliver, Montrell.


3                                 10/22/2018                                                                       Court of Common Pleas -
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                      COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
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4                                10/22/2018                                                                       Lewis, Kathryn Streeter
    Order Granting Motion for Continuance
      Judge: Hon. Kathryn S. Lewis               ADA: Chesley Lightsey              Def. Atty: A. J. Rudowitz              Steno: Danielle Sanders
      Court Clerk: Kathryn Morris

      JLSWOP continued for resentencing. The Pre-Hearing Readiness Conference date is 12/11/2018 room 507. All
      relevant resentencing information shall be filed on or before 12/7/2018 with Jugde McDermott. The resentencing
      date is 12/21/2018 room 507. Counsel is attached. Bring down the defendant. A writ has been prepared. The
      defendant is housed at SCI Phoenix. He has been in custody approximately 21 years. This is a first degree
      murder case. The Commonwealth have not extended an offer and is not seeking life without parole. NCD:
      12/21/2018 room 507

1                                11/09/2018                                                                       Rudowitz, Andrew John
    Motion for Continuance
        Motion for Continuance filed on behalf of Oliver, Montrell.


3                                11/27/2018                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
    Hearing Notice


4                                11/29/2018                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
    Hearing Notice


5                                11/29/2018                                                                       McDermott, Barbara A.
    Order Granting Motion for Continuance
      Honorable Barbara A. McDermott

      JLSWOP Hearing Continued -- 1/18/19 in courtroom 507
      Final Continuance
      Court Clerk to prepare a WRIT for next listing
      Defendant in custody(SCI Phoenix #:DN2091)

      ADA: Chesley Lightsey               Defense Attorney: Jessica A. Priselac                        Court Clerk: Diane Young                  Steno:
      Courtney Mulvenna

1                                01/18/2019                                                                       Priselac, Jessica Ann
    Miscellaneous Motion Filed
        Miscellaneous Motion Filed on behalf of Oliver, Montrell.




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2                                01/18/2019                                                                       Priselac, Jessica Ann
    Memorandum of Law
       Memorandum of Law filed on behalf of Oliver, Montrell.


3                                01/18/2019                                                                       McDermott, Barbara A.
    Order Granting PCRA - Juvenile Life Sentence Without Parole
      Honorable Barbara A. McDermott

      ADA: Michael Giampietro                    Defense Attorney: Jessica A. Priselac                  Court Clerk: Diane Young                 Steno:
      Louise Zingler

4                                01/18/2019                                                                       McDermott, Barbara A.
    Order Granting Motion to Vacate Illegal Sentence and to Impose Legal Sentence
      Honorable Barbara A. McDermott

      ADA: Michael Giampietro                    Defense Attorney: Jessica A. Priselac                  Court Clerk: Diane Young                 Steno:
      Louise Zingler

5                                01/18/2019                                                                       McDermott, Barbara A.
    Order - Sentence/Penalty Imposed
      Defendant Resentenced on Charge 1: 24-LIFE and on Charges 2,6,7,8, and 9 to No Further Penalty.          ADA:
      Michael Giampietro, Defense Attorney: Jessica A. Priselac, Court Clerk: Diane Young, Steno: Louise Zingleri in
      courtroom 507.

6                                01/18/2019                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
    Court Commitment State or County Correctional Institution


7                                01/18/2019                                                                       McDermott, Barbara A.
    Order Entering an Exhibit


1                                01/30/2019                                                                       McDermott, Barbara A.
    Order Granting Motion for Allotment of Funds


1                                01/31/2019                                                                       Philadelphia County Office of Judicial
                                                                                                                  Records
    Order Granting Motion for Counsel Fees




CPCMS 9082                                                                                                                                                Printed: 03/04/2019

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                                                              CASE FINANCIAL INFORMATION
                      Last Payment Date: 01/22/2019                                                                         Total of Last Payment: -$12.50
   Oliver, Montrell                                             Assessment                Payments            Adjustments          Non Monetary                    Total
      Defendant                                                                                                                       Payments
   Costs/Fees
   Filing Fee (Philadelphia)                                          $12.50                 -$12.50                  $0.00                  $0.00                $0.00
   Filing Fee (Philadelphia)                                          $12.50                 -$12.50                  $0.00                  $0.00                $0.00
   Motion Filing Fee (Philadelphia)                                   $12.50                 -$12.50                  $0.00                  $0.00                $0.00
   Filing Fee (Philadelphia)                                          $12.50                 -$12.50                  $0.00                  $0.00                $0.00
   Filing Fee (Philadelphia)                                          $12.50                 -$12.50                  $0.00                  $0.00                $0.00

                                  Costs/Fees Totals:                  $62.50                 -$62.50                  $0.00                  $0.00                $0.00

                                        Grand Totals:                 $62.50                 -$62.50                  $0.00                  $0.00                $0.00

      ** - Indicates assessment is subrogated




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                                        AFFIDAVIT OF JUNE BELL
                              Pursuant to 28 U.S.C. § 1746 and 18 Pa.C.S. § 4904


  I, June Bell, hereby declare, verify and swear as follows:



       1.    I am a friend of Montrell Oliver. We were friends when we were teenagers. I know that
             Montrell Oliver did not commit the murder he is now in jail for. I know this because
             Montrell was with me and Kasheen when it happened. We were at the room Kasheen and
             I were staying in at around 40th and Spring Garden Streets. We all slept there that night. I
             found out about the murder the day after it happened when I went to Jaydean Whitmore's
             house. Jaydean was Montrell's girlfriend. She told me Montrell had been arrested for the
            murder that happened the day before. Jaydean was upset. When I heard this I became
            upset too and I told her that the night of the murder, Montrell was with me and Kasheen.

      2. After it happened I was in a group home called Boys Town. A white guy came there and

            questioned me about the murder. He said they were all my friends and I knew who did it.
            He said if I didn't tell him who did it I would go to jail for the rest of my life for the
            murder. I told him I wasn't there and I had no idea who did the murder. I also told him
            that I knew for sure Montrell did not commit the murder because he was with me at my
            place the whole night of the murder. The man became angry and left.

      3.    I don't know why I was not asked to testify at Montrell's trial. I have been willing to
            testify for Montrell since this incident happened.

 I hereby swear that the facts set forth above are true and correct to the best of my personal
 knowledge, information, and belief, subject to the provisions of 28 U.S.C. § 1746 and 18 Pa.
 C.S. § 4904.




 Jun Bell                                                           COMMONWEALTH OF PENNSYLVANIA
                                                                           NOTARIAL. SEAL
                           before to
Sworn to and subscribed                                                 BRIAN C. O'LEARY, Notary Pubic
                                                                        City of Philadelphia, Phila. County
this /242 day of &-k-L't--7!'"1201.E.-.
                                                                       Commission Expires February 18, 2019
                                                 Page 1 of 1
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                                   AFFIDAVIT OF JADEAN WHITMORE
                               Pursuant to 28 U.S.C. § 1746 and 18 Pa.C.S. § 4904


 I, Jadean Whitmore, hereby declare, verify and swear as follows:

    1.   Prior to Montrell Oliver being Docked up, he and I had been together for several years. At
         the time of his arrest he mostly lived with me on Mt. Vernon Street, though he sometimes
          stayed at his mom's too. When he was arrested I was five months pregnant with his
          daughter. When our daughter was around two years old I took her to visit Montrell's
          mother, Anna Oliver. Mrs. Oliver refused to return our daughter to me and for the last
          nineteen years she has never allowed me to visit with her.

    2. On the day Montrell was arrested our mutual friend, June Bell, came over to my house. I
          was upset that Montrell had been arrested and when I told Jwie about it she became very
          upset. Through her tears she immediately said it couldn't have; been him who committed
          the murder because he was with June and her friends at her place that whole night.
          That's where I thought he had been, because Montrell and June left my house the evening
          of the murder and neither one of them came back. June assured me that she would be
          willing to do whatever she could to help Montrell, but she disappeared and never showed
          up for the trial.

     3. No investigator or lawyer for Montrell ever spoke with me about what I knew. Had an
          investigator or lawyer spoke with me I would have told him what I said above, and I
          would have been willing to testify in any legal proceedings regarding Montrell Oliver. I
          am also willing to testify for Montrell in any future legal proceeding.

 I hereby swear that the facts set forth above are true and correct to the best of my personal
 knowledge, information, and belief, subject to the provisions of 28 U.S.C. § 1746 and 18 Pa.
         4904.


      \=kikFC.kivN_                         A A71.-V
 Jade Whitmore
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